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Fill in this information to identify your case:

Debtor 1 Joel Valdes

First Nace Middle Name Last Name

Debtor 2
(Spouse, if filing). Firsl\Name Middle’ Name:

 

United States Bankruptcy Court for the: Southern District of Florida

Case number UI Check if this is an
{ienpyan) amended filing

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 1215

If you are an individual filing under chapter 7, you must fill out this form if:

H creditors have-claims secured by your property, or

m@ you have leased personal property and the lease has not expired,

You must file this form with the court within 30 days after you file.your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause, You must also send copies to the creditors.and lessors you list on the form.

If two married people are filing together In a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

 

Beas complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

Ea List Your Creditors Who Have Secured Claims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

identify the creditor and the property that is collateral What.do you intend todo with the property that Did you claim the property
secures.a debt? as exempt on Schedule C7
Creditor’s { é
name: SantanderConsumer US UI Surrender the property. U1 No
LJ Retain the property and redeem it. W Ves
see af 2013 Nissan Sentra (9,562 miles) WZ Retain the property and enter into a
securing debt: Reajffirmation Agreement.

C1 Retain the property:and [explain]:

 

 

eT i ili re ritmo

Greditor’s Q) Surrender the property, Ono
name:

 

C) Retain the property and redeem it. O) Yes

Description of . .
property Q) Retain the property and enter into a

securing debt: Reaffirmation Agreement.
UI Retain the property and [explain]:

 

mmm mim a il adi Has =e tether mi am eR

Creditor’s O surrender the property. UO No
name:
(] Retain the property and redeem it. OC ves
Description of
property

securing debt:

U) Retain the property and enter into a
Reaffirmation Agreement.

C) Retain the property and [explain]:

 

Creditor's C) surrender the property, LI No
name:

C] Retain the property and redeem it. O Yes

(C] Retain the property and enter into. a
Reaffirmation Agreement.

Description of

property

securing debt:
Cl] Retain the property and [explaini:

 

Official Form 108 Statement of Intention for Individuals Fillng Under Chapter 7 page 1
Case 19-16882-LMI

Debtor Joel

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Valdes

Case number (if known)

 

First Namé [Middle Name

Last Name

List Your Unexpired Personal Property Leases

 

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066),
fill in the information below. Do not list real estate leases, Unexpired leases are leases that are still in.effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired persona! property leases

Lessors name: Progressive Leasing

Description of leased Mattress
property:

Lessors name:

Description of leased
property:

Lessor’s name:
Description of leased
property:

Lessor's name:

Description of leased
property:

Lessor's name:

Description of leased
property:

Lessors name:

Description of leased
property:

Lessors name:

Description of leased
property:

Sign Below

Will the lease be assumed?

id No
QJ Yes

 

LJ no
OC) Yes

LI No
1 Yes

 

 

 

L] Yes

CO) No
L] Yes

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures.a debt.and any
personal property that is subject to:an unexpired lease.

x /s/ Joel Valdes

x

 

 

Signature of Debtor 1

ot ce
Date y dol
MMs DD fh YY¥Y

Official Form 108

Signature of Debtor 2

Date
MMP DDS YYYY

Statement of Intention for Individuals Filing Under Chapter 7 page 2
